                     THE UNITED STATES BANKRUPTCY COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


IN RE:                                       :       CASE NO.: 5:18-BK-01966 RNO
KURT A. TOPFER                               :
                       Movant                :
                                             :       ANSWER TO EMERGENCY MOTION
EVELYNE RUETIMANN                            :
              Respondent                     :
                                             :
Trustee Attorney: Jill Spott                 :
Respondents Attorney: Lisa Doran             :


                            ANSWER TO MOTION FOR RELIEF

        NOW COMES Trustee, Robert P. Sheils, Jr., Esquire, by and through his attorneys,

Sheils Law Associates, P.C., and answers the Motion of Movant, as follows:

        1.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph one and

strict proof thereof is demanded. By way of further answer, upon information and belief,

knowingly writing checks when funds are not available is a criminal matter.

        2.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph two and

strict proof thereof is demanded. By way of further answer, Trustee cannot transfer assets to

Debtor that have not been exempted.

        3.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph three and

strict proof thereof is demanded.




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        4.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph four and

strict proof thereof is demanded.

        5.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph five and

strict proof thereof is demanded.

        6.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph six and

strict proof thereof is demanded.

        7.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph seven and

strict proof thereof is demanded.

        8.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph seven and

strict proof thereof is demanded. By way of further answer, opposing counsel has not been

identified.

        9.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph nine and

strict proof thereof is demanded.

        10.    Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph ten and

strict proof thereof is demanded.




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       11.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph eleven and

strict proof thereof is demanded.

       12.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph twelve and

strict proof thereof is demanded.

       13.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph thirteen and

strict proof thereof is demanded. By way of further answer, this agreement is not identified in

Debtor’s schedules.

       14.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph fourteen

and strict proof thereof is demanded.

       15.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph fifteen and

strict proof thereof is demanded.

       16.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph sixteen and

strict proof thereof is demanded.

       17.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph seventeen

and strict proof thereof is demanded.




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       18.     Debtor filed a Chapter 7 petition, but has cited a Chapter 13 Code Section.

Motions are pending that would give the Trustee the ability to follow through with Debtor’s

request. By way of further answer, the Trustee’s office has urged Debtor on numerous occasions

to seek legal counsel.

       19.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph nineteen

and strict proof thereof is demanded.

       20.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph twenty and

strict proof thereof is demanded.

       21.     Debtor can obtain updates from the docket. By way of further answer, the Trustee

incorporates his response to paragraph two above as if fully set forth herein.

       22.     Trustee’s secretary responded that Trustee had no funds and wasn’t sure what the

Debtor wanted the Trustee to do.

       23.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph twenty-

three and strict proof thereof is demanded.

       24.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph twenty-four

and strict proof thereof is demanded.

       25.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph twenty-five

and strict proof thereof is demanded.




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       26.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph twenty-six

and strict proof thereof is demanded.

       27.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph twenty-

seven and strict proof thereof is demanded.

       28.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph twenty-

eight and strict proof thereof is demanded. By way of further answer, Trustee incorporates his

response to Paragraph eighteen above as if fully set forth herein...

       29.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph twenty-nine

and strict proof thereof is demanded.

       30.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph thirty and

strict proof thereof is demanded.

       31.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph thirty-one

and strict proof thereof is demanded. By way of further answer, the Trustee incorporates his

response to paragraph eighteen above as if fully set forth herein.

       32.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph thirty-two

and strict proof thereof is demanded.




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       33.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph thirty-three

and strict proof thereof is demanded.

       34.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph thirty-four

and strict proof thereof is demanded.

       35.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph thirty-five

and strict proof thereof is demanded.

       36.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph thirty-six

and strict proof thereof is demanded.

       37.     Denied. After reasonable investigation, Trustee is without sufficient knowledge

or information to form a belief as to the truth of the averment in Movant’s paragraph thirty-seven

and strict proof thereof is demanded.

       WHEREFORE, Robert P. Sheils, Jr., Esquire, Chapter 7 Trustee, respectfully requests

this Honorable Court deny Movant’s Motion.


Dated: May 20, 2019                                  /s/ Jill M. Spott
                                                     Jill M. Spott, Esquire
                                                     Attorney for Trustee
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